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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                              CRIMINAL ACTION

VERSUS                                                NO: 05-186

KERRY DE CAY                                          SECTION: "J”
STANFORD BARRÉ
REGINALD WALKER
JULIUS LIPS, JR.

                              ORDER AND REASONS

       Before the Court is the United States’ Motion to Correct

Clerical Errors in Invoice Numbering (Rec. Doc. 203).                This

motion was unopposed by all defendants except Defendant Kerry

DeCay.     This Court now addresses this motion on the briefs alone.

For the reasons that follow, the Court finds that this motion

should be granted.

The Parties’ Arguments

       The Government wishes to correct 3 errors in the numbering

of invoices found at page 18 of the superseding indictment, which

were apparently transposed in typing.            Specifically, the

Government requests that the following changes be made:

(1)    Count 14: substitute invoice number 1004 for 1003 (as to

Check number 502836) and invoice number 1003 for 1004 (as to

check 502837);

(2)    Count 15: substitute invoice number 1010 for 1009 (as to

Check 519185; and
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(3)    Count 16: substitute invoice number 1009 for 1010 (as to

       check 527568).

The Government argues that the indictment can be amended as

requested without return to the Grand Jury because these errors

are merely typographical and are not substantive in nature.

       Defendants Barre, Walker, and Lips do not oppose the

Government’s motion.       Defendant DeCay does oppose the motion and

argues that the errors are substantive.            DeCay asserts that the

Government cannot prevail on the three involved mail fraud counts

without correctly matching a particular inflated invoice with a

particular check-mailing.          DeCay claims that these numbers were

correct in the original indictment and incorrect in the

superceding indictment.           Thus, DeCay claims that the Government

is asking the Court to determine that the original grand jury was

correct and the superceding grand jury was wrong.

DISCUSSION

       This Court concludes that the requested amendments are

merely typographical corrections and should be allowed.                 The

Fifth Circuit has explained that an indictment may be amended

without returning to the Grand Jury if the substance remains the

same. U.S. v. Young Bros., 728 F.2d 682, 693 (5th Cir. 1984).                    In

Young Bros., the district court granted a mid-trial motion to

amend the indictment to change "Young Brothers, Inc." to "Young

Brothers, Inc. Contractors".          The Fifth Circuit determined that

the district court had not erred in allowing the amendment
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because the amendment merely corrected a misnomer.             The Court

explained:

             A misnomer is a mistake of form which may be
             corrected by amending the indictment. An
             amendment will be allowed if a defendant's rights
             are not affected and he is adequately apprised of
             the charges against him so that he is protected
             against surprise at trial or another prosecution
             for the same offense.

Id. at 693, internal citations omitted.

     In United States v. Field, 875 F.2d 130 (7th Cir. 1989), the

district court allowed the Government to amend the indictment to

include the eleventh digit of the serial number for each money

order that Defendant allegedly altered.        The Defendant argued on

appeal that allowing this amendment violated his rights under the

presentment and double jeopardy clauses of the Constitution.                  The

Seventh Circuit explained that while only a Grand Jury can

materially amend the indictment, judicial amendments of an

indictment are permitted as to matters of form or surplusage.

The Seventh Circuit explained that the district court had not

erred in allowing the amendment:

             The amendment to the indictment in this case
             corrected a typographical or clerical error. In
             other words, this amendment went to the form, and
             not to the substance of the indictment. United
             States v. Neff, 525 F.2d 361, 363 (8th Cir.1975)
             (trial court's amendment of the serial number of a
             weapon alleged in the indictment was permissible,
             because this was a correction of a typographical
             error going to form, and not to substance); see
             also United States v. Bush, 659 F.2d 163, 165-67
             (D.C.Cir.1981) (amendment of indictment during
             trial to correct form number alleged in the
             indictment was permissible).
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Id. at 134.

     Last, in United States v. Kegler, 724 F.2d 190 (D.C.

Cir.1983), the D.C. Circuit determined that the district court

had not erred in allowing an amendment to correct the first name

of the payee of a forged check.      The appellate court explained

that there was no claim that the identity of the accused was

misstated, or that the defendant was done any harm by the

amendment.    The amendment did not change the nature of the crime

charged or charge a different offense.        Thus, the Court

determined that the amendment was permissible because it was one

only of form, and the defendant's substantial rights were not

prejudiced.

     Here, as in Young Bros., Field, and Kegler, this Court

determines that the requested amendments to the superceding

indictment are merely clerical corrections, which do not affect

the substance of the superceding indictment.          There is no

possible prejudice to the defendants.         Accordingly,

     IT IS ORDERED that the United States’ Motion to Correct

Clerical Errors in Invoice Numbering (Rec. Doc. 203) should be

and hereby is GRANTED.

     New Orleans, Louisiana this 8th day of January, 2007.



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                                  CARL J. BARBIER
                                  UNITED STATES DISTRICT JUDGE
